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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 CYNTHIA PALACIOS, individually and
 on behalf of all others similarly situated,
                                                 Case No. 2:21-cv-11815-TGB-EAS
       Plaintiff,
                                                 Honorable Terrence G. Berg
 v.

 ANNIE’S PUBLISHING, LLC,

       Defendant.


   DEFENDANT ANNIE’S PUBLISHING, LLC’S MOTION TO DISMISS

      Defendant Annie’s Publishing, LLC (“Annie’s”) respectfully moves this

Court to dismiss Plaintiff’s First Amended Complaint (“FAC”) pursuant to Rules

12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, with prejudice.

      Pursuant to Local Rule 7.1(a), Defendant’s counsel certifies that on February

4, 8, and 14, 2022, they conferred with Plaintiff’s Counsel to discuss the basis of the

relief sought in this Motion. Plaintiff’s counsel stated that he would oppose the

Motion.

      The basis of this Motion is that Plaintiff’s FAC should be dismissed with

prejudice on two grounds. First, Annie’s moves to dismiss under Rule 12(b)(6)

because Plaintiff’s claim for invasion of privacy in violation of the Michigan

Michigan’s “Preservation of Personal Privacy Act” (“PPPA”) is time-barred, under
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the applicable three-year statute of limitations, MCL § 600.5805(2). In the

alternative, pursuant to Rule 12(b)(1), Plaintiff lacks standing because she has not

plausibly alleged any concrete injury-in-fact.

Dated: 03/03/2022                                Respectfully submitted,

                                                 STEPTOE & JOHNSON LLP

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 CYNTHIA PALACIOS, individually and
 on behalf of all others similarly situated,
                                               Case No. 2:21-cv-11815-TGB-EAS
       Plaintiff,
                                               Honorable Terrence G. Berg
 v.

 ANNIE’S PUBLISHING, LLC,

       Defendant.


  BRIEF IN SUPPORT OF DEFENDANT ANNIE’S PUBLISHING, LLC’S
                     MOTION TO DISMISS
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                   STATEMENT OF ISSUES PRESENTED

      1. Is Plaintiff’s claim under the Michigan Preservation of Personal Privacy

Act (“PPPA”) time-barred by the three-year statute of limitations in MCL §

600.5805(2), just like traditionally recognized common law invasion of privacy

claims?

      Defendant Answers: YES.



      2. Is Plaintiff pleading a bare statutory violation of the PPPA without any

allegations of suffering actual damages, and therefore unable to establish standing

under Article III of the U.S. Constitution?

      Defendant Answers: YES.




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 STATEMENT OF CONTROLLING/MOST APPROPRIATE AUTHORITY

The controlling authority for this Motion includes:

   1. MCL § 600.5805(2)

   2. Loc. 1064, RWDSU AFL-CIO v. Ernst & Young, 535 N.W.2d 187 (Mich.

      1995)

   3. Derderian v. Genesys Health Care Sys., 263 Mich. App. 364, 689 N.W.2d

      145 (2004)

   4. Green v. Lansing Automakers Fed. Credit Union, No. 342373, 2019 WL

      3812108 (Mich. Ct. App. Aug. 13, 2019)

   5. Garg v. Macomb Cty. Cmty. Mental Health Servs., 696 N.W.2d 646 (Mich.

      2005)

   6. McCree v. Cont’l Mgmt., LLC, No. 351171, 2021 WL 1050115 (Mich. Ct.

      App. Mar. 18, 2021)

   7. Lin v. Crain Commc’ns, Inc., No. 19-11889, 2020 WL 248445 (E.D. Mich.

      Jan. 16, 2020)

   8. TransUnion LLC v. Ramirez, 141 S.Ct. 2190 (2021)




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                                  INTRODUCTION

       This Motion involves a single question:          Does Plaintiff’s claim under

 Michigan’s “Preservation of Personal Privacy Act” (“PPPA”) allege a personal

 injury? Plaintiff’s First Amended Complaint (“FAC”) implicitly argues that the

 answer is “yes” for purposes of establish standing, but “no” for purposes of avoiding

 the applicable statute of limitations. She cannot have it both ways.

       Under Michigan law, any claim alleging “injury to a person or property” must

 be brought within three years of the event giving rise to the claim. MCL §

 600.5805(2) (“Section 5805”). Courts have consistently applied Section 5805’s

 three-year limitations period to invasion of privacy claims. Here, the basis of

 Plaintiff’s case is her allegation that Annie’s invaded her privacy by disclosing her

 “private reading information.” By her own admission, however, this happened over

 five years ago. Her case is therefore time-barred.

       If Plaintiff argues or the Court determines that Plaintiff did not, in fact, suffer

 a personal injury traditionally recognized in the common law, then she lacks Article

 III standing, which requires an injury-in-fact that has “a ‘close relationship’ to a

 harm ‘traditionally’ recognized as providing a basis for a lawsuit in American

 courts.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2204 (2021) (quoting Spokeo,

 Inc. v. Robins, 578 U. S. 330, 340 (2016), as revised (May 24, 2016)).




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       As demonstrated in detail below, Plaintiff is caught in a double bind: either

 she has alleged a personal injury analogous to a traditional common law tort claim,

 in which case she has standing but her claim is time-barred; or if she has alleged a

 purely statutory injury, then she lacks standing to sue. Either way, Plaintiff’s FAC

 should be dismissed with prejudice because no further opportunity to plead

 additional allegations can save these fatal flaws in her case.

                            FACTUAL BACKGROUND

       A.     Plaintiff’s Allegations

       Founded in 1925, Annie’s is a third-generation family business providing

 crafts magazines to subscribers, with titles such as Crochet!, Quilter’s World, Just

 CrossStitch, Farmhouse, and Country Sampler.

       Plaintiff alleges that she subscribed to Crochet! magazine sometime prior to

 July 30, 2016. FAC ¶ 1. The crux of her lawsuit is that Annie’s allegedly included

 her name and address on a list of Annie’s subscribers, which she alleges it sold to

 third parties. Id. at ¶ 1. Plaintiff characterizes her name and address as “Private

 Reading Information.” Id.

       Plaintiff’s entire case hinges on a single cause of action under Michigan’s

 PPPA, which she purports to bring on behalf of “all Michigan residents who, at any

 point during the relevant pre-July 30, 2016 time period, had their Private Reading

 Information disclosed to third parties by [Annie’s] without consent.” Id. at ¶ 49.


                                            2
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 She seeks statutory penalties of $5,000 per class member, in addition to attorneys’

 fees and costs.

       B.     Plaintiff Attempts to Bring this Lawsuit under the 1989 Version of
              the PPPA, Not the Newly Amended 2016 Version

       The PPPA was enacted almost thirty-five (35) years ago in response to the

 leaking of then-Supreme Court Justice Nominee Robert Bork’s video rental history,

 shortly after Congress enacted the federal Video Privacy Protection Act (“VPPA”),

 18 U.S.C. § 2710.1 HB 5331, First Analysis (6-15-88); see also Lin v. Crain

 Commc’ns Inc., No. 19-11889, 2020 WL 248445, at *2 (E.D. Mich. Jan. 16, 2020).

 The House Legislative Analysis for the bill at the time explained, “[m]any in

 Michigan [] believe that one’s choice in videos, records, and books is nobody’s

 business but one’s own, and suggest the enactment of a statute to explicitly protect

 a consumer’s privacy in buying and borrowing such items.” HB 5331, First Analysis

 (6-15-88).

       To achieve this goal, the PPPA codifies the common law tort of invasion of

 privacy in the context of disclosure of video rental and reading materials. The 1989

 version of the statute (under which Plaintiff asserts her claim) provides that, subject

 to certain exceptions, any person:



  1
    Michigan’s PPPA is sometimes also referred to as the “Video Rental Privacy Act”
 or “VRPA” because of its similarity to the federal VPPA and other states’ video
 rental privacy laws.
                                           3
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                Engaged in the business of selling at retail, renting, or lending books or
                other written materials, sound recordings, or video recordings shall not
                disclose to any person, other than the customer a record or information
                concerning the purchase, lease, rental or borrowing of those materials
                by a customer that indicates the identity of the customer.

 MCL § 445.1712 (1989).

       As originally enacted, the PPPA did not authorize civil penalties. See 1988

 Mich. Pub. Act. 378. In 1989, however, the Michigan legislature amended the PPPA

 to permit recovery of “[a]ctual damages … or $5,000.00, whichever is greater.”

 1989 Mich. Pub. Act. No. 206 (codified at MCL § 445.1715(2)(a) until amended by

 2016 Mich. Pub. Act No. 92). This provision was added so that “those harmed by

 illegal disclosures could obtain some recompense”2 and provided “the right to collect

 damages for harm done when details on a person’s rentals or purchases are

 disclosed.”3

       The Michigan Legislature amended the PPPA again in 2016, in response to a

 wave of federal class action lawsuits demanding tens or hundreds of millions of

 dollars in damages, even where nobody was injured. The Legislature eliminated the

 statutory $5,000 penalty and clarified that plaintiffs must prove there are “actual



  2
    Privacy: Sales, Rentals of Videos, etc., House Legislative Analysis Section, H.B.
 No. 4694, May 11, 1989, found at http://www.legislature.mi.gov/documents/ 1989-
 1990/billanalysis/House/pdf/1989-HLA-4694-A.pdf (emphasis added).
  3
    Privacy: Sales, Rentals of Videos, etc., Senate Fiscal Agency, Bill Analysis, H.B.
 No. 4694, Nov. 10, 1989, found at http://www.legislature.mi.gov/documents/ 1989-
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 damages” to recover under the Act. See 2016 Mich. Pub. Act No. 92 (codified at

 MCL §§ 445.1715(2)(a)-(b)). This amendment took effect July 31, 2016, but was

 not retroactive. Coulter-Owens v. Time Inc., 695 F. App’x 117, 121 (6th Cir. 2017).

          Plaintiff does not purport to have suffered any actual damages. Instead, she

 explicitly brings her claim under the 1989 version of the PPPA, which ceased to

 exist as of July 31, 2016, in order to take advantage of the $5,000 statutory penalty

 from the pre-amendment version of the law, which now requires actual damages in

 order to recover. See FAC ¶¶ 1, 3, 9, 46, 49, 60-72.4

                                     ARGUMENT

 I.       This Action Is Time-Barred

          A.    Legal Standard Applicable to Motions Under Rule 12(b)(6)

          Where “the allegations in the complaint affirmatively show that the claim is

 time-barred …. dismissing the claim under Rule 12(b)(6) is appropriate.” Cataldo v.

 U.S. Steel Corp., 676 F.3d 542, 547 (6th Cir. 2012); see also New Eng. Health Care

 Emps. Pension Fund v. Ernst & Young, LLP, 336 F.3d 495, 501 (6th Cir. 2003);

 Tocarchick v. UAW Region 1, No. 15-CV11329, 2015 WL 5026149, at *4 (E.D.


      4
     Plaintiff is also relying on the statutory penalty to satisfy the Class Action
 Fairness Act’s amount in controversy requirement for federal jurisdiction (28 U.S.C.
 § 1332(d)(2)), because her claims would not be not permitted in Michigan state
 court. See MCR, Rule 3.501(A)(5) (“An action for a penalty or minimum amount
 of recovery without regard to actual damages imposed or authorized by statute may
 not be maintained as a class action unless the statute specifically authorizes its
 recovery in a class action.”) Put otherwise: Plaintiff seeks to bring claims in this
 Court, under Michigan law, that she could not bring in Michigan’s own courts.
                                            5
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 Mich. Aug. 21, 2015) (granting motion to dismiss based on statute of limitations);

 Wiggins v. Nationstar Mortg. LLC, No. 14-CV-12680, 2015 WL 4967137, at *2

 (E.D. Mich. Aug. 20, 2015), aff’d (June 23, 2016) (same).

       B.     Section 5805’s Three-Year Statute of Limitations Governs
              Plaintiff’s Claims and Bars her Case

       Plaintiff’s lawsuit is time-barred under Section 5805,5 which provides in

 relevant part:

              (1) A person shall not bring or maintain an action to recover damages
              for injuries to persons or property unless … the action is commenced
              within the periods of time prescribed by this section.

              (2) Except as otherwise provided in this section, the period of
              limitations is 3 years after the time of the death or injury for all actions
              to recover damages for the death of a person or for injury to a person
              or property.

 MCL § 600.5805(1), (2) (emphasis added).6 This statute is self-explanatory: all

 claims for “injury to a person” must be brought within three years. Local 1064,

 RWDSU AFL-CIO v. Ernst & Young, 535 N.W.2d 187, 189-90 (Mich. 1995); Herrin

 v. Dunham, 481 F. Supp. 2d 854, 857 (E.D. Mich. 2007) (“[i]n Michigan, one statute

 of limitations applies to all personal injury claims.”).



  5
     As a federal court sitting in diversity jurisdiction, this Court applies Michigan’s
 statutes of limitations. See Consol. Rail Corp. v. Yashinsky, 170 F.3d 591, 594 (6th
 Cir. 1999).
   6
      Subdivision (2) of Section 600.5805 was previously codified in several other
 subdivisions, including Subdivisions (10), (9), (8) and (7) of Section 5805. Although
 the subdivision number has changed, the substance of the subdivision has remained
 fundamentally unchanged.
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       Where, as here, the statute is unambiguous, the Court must apply it as written.

 The Michigan Supreme Court has explained:

              Fundamental canons of statutory interpretation require us to discern and
              give effect to the Legislature’s intent as expressed by the language of
              its statutes. If such language is unambiguous, as most such language is,
              we presume that the Legislature intended the meaning clearly
              expressed--no further judicial construction is required or permitted, and
              the statute must be enforced as written.

 Garg v. Macomb Cty. Cmty. Mental Health Servs., 472 Mich. 263, 281 (2005)

 (overruling the “continuing violations” doctrine as inconsistent with Section 5805’s

 plain language).

       Michigan courts “take[] an expansive view of what constitutes ‘injuries to

 persons’” under Section 5805, defining the term to include “injuries resulting from

 invasions of rights that inhere in man as a rational being, that is, rights to which one

 is entitled by reason of being a person in the eyes of the law.” National Sand, Inc.

 v. Nagel Construction, Inc., 451 N.W.2d 618, 621-22 (Mich. Ct. App. 1990);

 Stringer v. Bd. of Trustees of Edward W. Sparrow Hosp., 62 Mich. App. 696, 701

 (Mich. App. 1975). This definition “has a broader meaning than physical injuries

 and includes such things as . . . the deprivation of civil rights.” National Sand, 451

 N.W.2d at 621-22 (citing Krum v. Sheppard, 255 F. Supp. 994, 999 (W.D. Mich.

 1966)). Under Section 5805, a claim is for a “personal injury” if it is “founded on a

 ‘nonconsensual’ duty or one ‘imposed by law’” rather than upon a “‘consensual’

 duty or obligation or the breach of an ‘express promise.’” Miller-Davis Co. v.

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 Ahrens Const., Inc., 802 N.W.2d 33, 39 (2011); see also Huhtala v. Travelers Ins.

 Co., 257 N.W.2d 640, 644 (Mich. 1977) (Section 5805 applies “[w]here the nature

 and origin of an action to recover damages for injury to persons or property is a duty

 imposed by law”).

       Consistent with this broad definition of “injury to a person,” Michigan courts

 apply Section 5805’s three-year statute of limitations in cases alleging common law

 invasions of privacy. See Derderian v. Genesys Health Care Sys., 689 N.W.2d 145,

 159 (Mich. Ct. App. 2004); Green v. Lansing Automakers Fed. Credit Union,

 342373, 2019 WL 3812108, at *4 (Mich. Ct. App. Aug. 13, 2019).7

       Several courts have applied Section 5805 to PPPA claims specifically. See

 Edwards v. Hearst Communications, Inc., No. 15-cv-9279, 2016 WL 6651563, at

 *1 (S.D.N.Y. Nov. 9, 2016) (noting that “a three-year statute of limitations

 admittedly governs [Plaintiff’s PPPA] claims”); Boelter v. Hearst Comm’s, Inc., 269

 F. Supp. 3d 172, 187 (S.D.N.Y. 2017) (applying three-year statute of limitations to

 PPPA claims); but see Pratt v. KSE Sportsman Media, Inc., 1:21-CV-11404, 2022



  7
    See also Cooper v. Team Wellness (Mental Health) Services Supervisor, 18-1162,
 2018 WL 7360647, at *2 (6th Cir. Oct. 11, 2018) (“The statute of limitations for the
 invasion of privacy and fraud in Michigan is three years.”) (citing Mich. Comp.
 Laws Ann. § 600.5805(2)); Arent v. Hatch, 349 N.W.2d 536, 539 (Mich. Ct. App.
 1984); Smith v. Asphalt Specialists, Inc., 190555, 1997 WL 33344052, at *4 (Mich.
 App. Oct. 17, 1997) (“The period of limitation applicable to a claim of invasion of
 privacy is three years”); Daniel v. DTE Energy, No. 2:11-CV- 13141, 2012 WL
 12925071, at *4 (E.D. Mich. Aug. 30, 2012) (same).
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 WL 469075 (E.D. Mich. Feb. 15, 2022). Tellingly, Plaintiff’s own counsel here are

 on record in public pleadings telling courts in several different cases that the statute

 of limitations for PPPA claims is three-years.8 It was not until Section 5805’s

 limitations period expired that they argued that a longer period should apply.

       C.     Plaintiff’s PPPA Claim Seeks Damages “for an Injury to a Person”

       “In determining whether a statute of limitations applies, this Court looks to

 the true nature of a complaint, reading the complaint as a whole and looking beyond

 the parties’ labels to determine the exact nature of the claim.” Anzaldua v. Neogen

 Corp., 292 Mich. App. 626, 631 (Mich. App. 2011) (citation omitted). Plaintiff

 cannot use “artful drafting” to plead around the applicable statute of limitations.




  8
    For example, in responding to a motion to dismiss in another case on untimeliness
 grounds, plaintiff’s counsel unequivocally stated that “[c]laims under the [PPPA]
 are subject to a ‘three year statute of limitations,’” and never invoked the six-year
 limitations. Rentola v. Dow Jones & Co., Inc., No. 4:20-cv-11589-SDD-EAS, ECF
 No. 12 at 2 (citing Boelter and MCL § 600.5805(2)). In several other cases, in
 responding to the argument that § 600.5805(2) barred Plaintiffs’ PPPA claims,
 plaintiff’s counsel argued that § 600.5805(2)’s 3-year limitations period was tolled,
 without asserting that a six-year statute of limitations applied. Markham et al. v.
 National Geographic Partners, LLC, No. 1:19-cv-00232, U.S. District Court for the
 Western District of Michigan, Plaintiff’s Response to National Geographic Partner’s
 LLC’s Pre-Motion Conference Request, Dkt. 26 (Dec. 17, 2019); Boelter v. Hearst,
 Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to Dismiss
 and for Summary Judgment, 2017 WL 4838016 (S.D.N.Y.) (section heading: “VII.
 HEARST’S ARGUMENT THAT THERE IS NO BASIS TO TOLL THE THREE-
 YEAR STATUTE OF LIMITATIONS IS WRONG”) (emphasis added); Edwards
 v. Hearst, Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to
 Dismiss and for Summary Judgment, 2017 WL 4838019 (S.D.N.Y.) (same).
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 Stephens v. Worden Ins. Agency, LLC, 307 Mich. App. 220, 859 N.W.2d 723 (2014),

 appeal denied, 869 N.W.2d 614 (Mich. 2015).9

       When stripped of its statutory label, the “nature” and “substance” of Plaintiff’s

 alleged injury is that her privacy was invaded—a claim sounds in the traditional tort

 of invasion of privacy. “[B]oth the common law and the literal understandings of

 privacy encompass the individual’s control of information concerning his or her

 person.” United States Dep’t of Justice v. Reporters Comm. for Freedom of the

 Press, 489 U.S. 749, 763 (1989); see also id. at 762 (“[C]ases sometimes

 characterized as protecting ‘privacy’ have in fact involved ... the individual interest

 in avoiding disclosure of personal matters, ....”) (citing Whalen v. Roe, 429 U.S. 589,

 598-600 (1977)); Ward v. Nat’l Patient Acct. Servs. Sols., Inc., 9 F.4th 357, 362 (6th

 Cir. 2021) (“Had Ward claimed, for example, that NPAS, Inc. improperly shared




  9
     See also Seebacher v. Fitzgerald, Hodgman, Cawthorne and King, P.C., 181
 Mich. App. 642, 646 (Mich. App. 1989) (“The type of interest harmed, rather than
 the label given the claim, determines what limitations period controls.”); Loc. 1064,
 449 Mich. at 327 n.10 (“the court may look behind the technical label that plaintiff
 attaches to a cause of action to the substance of the claim asserted”); Huhtala v.
 Travelers Ins. Co., 257 N.W.2d 640, 644 (Mich. 1977) (Section 5805 applies
 “[w]here the nature and origin of an action to recover damages for injury to persons
 or property is a duty imposed by law”); Stringer, 62 Mich. App. 696 (“[W]hat
 differentiates [Michigan’s statutes of limitations] is what the damages are sought
 ‘for’…” In doing so, they “look beyond procedural labels to see exactly what a
 party’s complaint is before deciding whether it should be barred.”).
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 personal information with a third party, … then Ward’s alleged harm would more

 closely resemble an invasion of privacy.”).10

       As discussed above, Michigan enacted the PPPA to protect against an

 “unwarranted invasion of privacy” and to “preserve personal privacy with respect to

 the purchase, rental, or borrowing of written materials,” because “a person’s choice

 in reading, music, and video entertainment is a private matter.” Lin, 2020 WL

 248445, at *2; see also 1988 Mich. Pub. Act No. 378. The statute is grounded in

 common law privacy interests. As one court explained:

              Subscribers’ right to privacy in their personal-reading information is
              grounded in an interest “traditionally regarded as providing a basis for
              a lawsuit in English or American courts… Here, the Michigan
              Legislature recognized subscribers’ right to privacy in their personal-
              reading information, and through the enactment of the PPPA, ‘define[d]
              the injury’ and ‘articulate[d] the chain of causation that gives rise to the
              injury.’”

 Moeller v. Am. Media, Inc., 235 F. Supp. 3d 868, 873 (E.D. Mich. 2017); see also

 Coulter-Owens, 695 F. App’x at 119 (6th Cir. 2017) (describing PPPA claim as


  10
     The invasion of a person’s privacy was first identified as an independent “legal
 injuria” in Samuel D. Warren and future-Justice Louis Brandeis’s seminal article
 The Right to Privacy, where they first identified a broader right “of the individual to
 be let alone.” See Samuel D. Warren & Louis D. Brandeis, The Right to Privacy, 4
 Harv. L. Rev. 193, 197–213 (1890) (discussing case law involving the public
 disclosure of private matters); William L. Prosser, Privacy, 48 Cal. L. Rev. 383, 389-
 407 (1960) (observing that there must be “some breach of contract, trust or
 confidential relation” for a disclosure of information to a limited group of people to
 be tortious); Restatement (First) of Torts § 867 (1939) (an invasion of privacy is an
 “unreasonabl[e] and serious[] interfere[nce] with another’s interest in not having his
 affairs known to others or his likeness exhibited to the public ....”).
                                           11
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 alleging “an invasion of privacy”); Boelter v. Advance Mag. Publishers Inc., 210 F.

 Supp. 3d 579, 589–90 (S.D.N.Y. 2016) (“the harms contemplated by [the PPPA and

 VPPA] have close ties to those recognized by the common law tort of invasion of

 privacy.”); Perlin v. Time Inc., 237 F. Supp. 3d 623, 641 (E.D. Mich. 2017) (“that

 the right guaranteed by the [PPPA] is similar in kind to other privacy rights that were

 gradually recognized by American courts over the course of the last century,

 following the publication of Samuel Warren and Louis Brandeis’s landmark

 article The Right to Privacy...”); Lin, 2020 WL 248445, at *2 (the PPPA addressed

 “invasion[s] of a legally protected privacy interest”).

       Plaintiff does not appear to disagree that the PPPA codifies a right to privacy.

 She recognizes that the statute was enacted to “further protect its citizens’ privacy

 rights” (FAC ¶ 15), and the allegations in the FAC demonstrate that her PPPA claims

 are exclusively based on invasion-of-privacy harms. For example, she claims that

 Annie’s alleged disclosure of her “Private Reading Information” “jeopardiz[ed] its

 subscribers’ privacy” (id. ¶ 33); revealed “sensitive and private information” and

 even her “most intimate details” (id. ¶¶ 43-47); is a “serious threat” to “consumers’

 privacy” (id. ¶ 28); and “violat[es] the ‘gut feeling that people ought to be able to

 read books and watch films without the whole world watching.’” (id. ¶ 16)

 (emphasis added throughout). See also id. ¶ 35 (discussing growing “consumer




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 concerns regarding . . . privacy”); id. ¶ 52 (“Plaintiff and the Class suffered invasions

 of their statutorily protected right to privacy”).

       Plaintiff also relies on the legislative history of the federal VPPA (FAC ¶¶ 14,

 18-19), on which the PPPA is based, and which protects against “essentially the

 same” harm as the PPPA. Boelter, 210 F. Supp. 3d at 589–90 (“Both statutes reflect

 legislative determinations as to what kinds of unauthorized disclosures invade the

 privacy interests of consumers in the content they consume.”); see also Lin, 2020

 WL 248445, at *2 (citing 988 Mich. Pub. Acts No. 378 at p. 1559) (“Like the VPPA,

 [the PPPA] aims to ‘preserve personal privacy with respect to the purchase, rental,

 or borrowing’ of written materials, sound recordings, and video recordings.”). The

 VPPA’s legislative history could not be clearer that the VPPA was intended to codify

 a right to privacy. See, e.g., S.Rep. No. 100–599, at 1 (1988) (cited in FAC ¶ 14),

 reprinted in 1988 U.S.C.C.A.N. 4342-6; see also HB 5331, First Analysis (6-15-88)

 (“S. 2361 helps define the right of privacy by prohibiting unauthorized disclosure of

 personal information held by video tape providers. The bill attempts to give meaning

 to, and thus enhance, the concept of privacy for individuals in their daily lives.”).11


  11
     Numerous courts have recognized that the VPPA “has a close relationship to a
 harm that has traditionally been regarded as providing a basis for a lawsuit in English
 or American courts.” Perry v. Cable News Network, Inc., 854 F.3d 1336, 1340-41
 (11th Cir. 2017); see also Eichenberger v. ESPN, Inc., 876 F.3d 979, 982-84 (9th
 Cir. 2017) (“the VPPA identifies a substantive right to privacy that suffers any time
 a video service provider discloses otherwise private information.”); Perlin v. Time
 Inc., 237 F. Supp. 3d 623, 641 (E.D. Mich. 2017) (“the right guaranteed by the
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       Plaintiff’s purported privacy-based allegations are rooted in traditional tort

 theories, and therefore allege “injuries to a person” within the meaning of Section

 5805. The “true nature,” “substance,” and “origin” of Plaintiff’s claims, and the

 “type of interest [allegedly] harmed” all mirror those of traditional common law

 claims. Michigan did not double the limitations period for invasion of privacy

 claims by enacting the PPPA. The same limitations period should therefore apply.

       D.     The “Catch-All” Six Year Limitations Period Does Not Apply

       Plaintiff contends that her PPPA claim is governed by Michigan’s catch-all

 statute of limitations, MCL § 600.5813 (“Section 5813”), which provides that “[a]ll

 other personal actions shall be commenced within the period of 6 years after the

 claims accrue . . .” FAC ¶ 1. However, because “Section 5805 is a more specific

 statute of limitations than § 5813,” it “therefore controls if applicable to this action.”

 Local 1064, RWDSU AFL-CIO v. Ernst & Young, 535 N.W.2d 187, 189-90 (Mich.

 1995). That is, regardless of Section 5813, all claims for “injury to a person” must

 be brought within three years. Id.; Herrin v. Dunham, 481 F. Supp. 2d 854, 857



 VRPA is similar in kind to other privacy rights that were gradually recognized by
 The Right to Privacy, 4 Harv. L. Rev. 193 (1890)”); In re Vizio, Inc. Consumer
 Privacy Litig., 238 F. Supp. 3d 1204, 1215-17 (C.D. Cal. 2017) (“Plaintiffs’ VPPA
 claims are even more deeply rooted in the common law. Warren and Brandeis traced
 the development of the tort of invasion of privacy in part to cases involving the
 disclosure of information in breach of a confidential relationship.”); Yershov v.
 Gannet Satellite Info. Network, Inc., 204 F. Supp. 3d 353, 362 (D. Mass. 2016)
 (“[B]oth the common law and the literal understandings of privacy encompass the
 individual’s control of information concerning his or her person.”).
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 (E.D. Mich. 2007) (applying the three-year statute of limitations to claims under 42

 U.S.C. § 1983 and observing that, “[i]n Michigan, one statute of limitations applies

 to all personal injury claims.”).

       The fact that Plaintiff has brought her privacy claims under a statute, rather

 than the common law, is irrelevant. See, e.g., Loc. 1064, 449 Mich. at 327 n.10 (“the

 court may look behind the technical label that plaintiff attaches to a cause of action

 to the substance of the claim asserted”). Michigan courts routinely apply Section

 5805 to statutory claims that allege injury to persons or property, even where the

 claims do not codify or mirror a common law tort claim. For example, in Garg v.

 Macomb Cty. Cmty. Mental Health Servs., 472 Mich. 263, 284; 696 N.W.2d 646

 (2005), the Michigan Supreme Court held that statutory employment discrimination

 claims and retaliation claims under § 37.2010 of the Elliott-Larsen Civil Rights Act

 on the basis of national origin are subject to Section 5805’s three-year limitations

 period; such claims have no basis in common law.

       Similarly, in McCree v. Cont’l Mgmt., LLC, No. 351171, 2021 WL 1050115,

 at *7 (Mich. Ct. App. Mar. 18, 2021), the Michigan Court of Appeals recently held

 that Section 5805 applied to statutory claims under the Truth in Renting Act and the

 Housing Law of Michigan (which each created a statutory cause of action with no

 common-law analog) because those statutes protect “rights imposed upon defendant

 by law, as opposed to a contractually consented-to-duty.” McCree v. Cont’l Mgmt.,


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 LLC, No. 351171, 2021 WL 1050115, at *7 (Mich. Ct. App. Mar. 18, 2021). Other

 examples abound:

     Wrongful Death Act: Stewart’s Est. v. Armstrong, 187 N.W.2d 223, 224
      (Mich. 1971), overruled on other grounds (applying Section 5805 because
      “[the Act] is premised upon a tort theory. … Since [it] fails to specify a
      limitations period, the general tort statute of limitations contains the proper
      limitations period for wrongful death actions.”);

     Lanham Act: Cellasto Corp. v. International Tel. & Tel. Corp., 215 USPQ
      998, 1000 (E.D.Mich.1982) (“the effect of a trademark infringement is the
      same as the effect of any other injury to property. And thus, from a literal and
      conceptual standpoint, it would appear that the instant injury fits within the
      injury to property provisions of MCLA 600.5805(8).”); GMC v. Lanard Toys,
      Inc., 468 F.3d 405, 421 (6th Cir. 2006);

     Communications Act: Bufalino v. Michigan Bell Tel. Co., 404 F.2d 1023,
      1028 (6th Cir. 1968);

     Rehabilitation Act: Krueger v. U.S., 17-CV-10574, 2017 WL 5467743, at *5
      (E.D. Mich. Nov. 14, 2017);

     MCL § 600.2919a (statutory conversion): Tillman v. Great Lakes Truck
      Ctr., Inc., 742 N.W.2d 622, 623 (Mich. Ct. App. 2007); Dabish, 2019 WL
      3288931, at *4; Jacob v. Absolute Motor Cars, Inc., 353651, 2021 WL
      4143045, at *6 (Mich. App. Sept. 9, 2021);

     MCL § 600.2940(1) (statutory nuisance): Marks v. Hulstrom, No. 294453,
      2010 WL 2134303, at *1 (Mich. Ct. App. May 27, 2010);

     Elliot Larsen Civil Rights Act: Magee v. Daimler Chrysler Corp., 693
      N.W.2d 166, 168 (Mich. 2005); Major v. Vill. of Newberry, 892 N.W.2d 402,
      408 (Mich. Ct. App. 2016);

     Ethnic Intimidation Statute (MCL § 750.147b): Dabish v. McMahon, 818
      F. App’x 423, 427 (6th Cir. 2020) (holding Section 5805’s three-year
      limitations period applies to statutory claim for ethnic intimidation under
      MCL § 750.147b); El v. City of Livonia, No. 17-13190, No. 17-13190, 2018
      WL 4223500 (E.D. Mich. Aug. 28, 2018) (same);


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     Veterans’ Re-employment Rights Act: Marshall v. Chrysler Corp., 378 F.
      Supp. 94 (E.D. Mich. 1974) superseded by statute as stated in Stevens v. Tenn.
      Valley Auth., 712 F.2d 1047 (6th Cir. 1983) (applying Section 5805, not the
      six year period of Section 5813, because Michigan state courts “look[]to the
      nature of the claim asserted in determining the applicable statute of
      limitations” and the claim at issue was “essentially one to recover damages
      for injury to property or person.”);

     Labor Management Relations Act, § 301: Goldsby v. Ford Motor Co., 183
      F. Supp. 2d 943, 948 (E.D. Mich. 2001) (“Michigan's three-year statute of
      limitations for injuries to persons or property, rather than the six-year statute
      of limitations for breach of contract, applies to an employee's action against
      the employer under LMRA § 301”) (citing Callagher v. Chrysler
      Corporation, 613 F.2d 167 (6th Cir. 1980));

     42 U.S.C. § 1983: Herrin v. Dunham, 481 F. Supp. 2d 854, 857 (E.D. Mich.
      2007); Wolfe v. Perry, 412 F.3d 707, 714 (6th Cir.2005); see also Carroll v.
      Wilkerson, 782 F.2d 44, 44 (6th Cir.1986) (cited in Herrin and Wolfe); and

     42 U.S.C. § 1981: EEOC v. Detroit Edison, 515 F.2d 301 (6th Cir. 1975),
      remanded on other grounds, 431 U.S. 951, 97 S.Ct. 2668, 53 L.Ed.2d 267
      (1977); Marlowe v. Fisher Body, 489 F.2d 1057, 1063 (6th Cir. 1973) (“The
      deprivation of civil rights is a wrong to the person. Subsection 7 of M.C.L. s
      600.5805 most appropriately deals with an action to vindicate the right of
      employees to be free of discrimination.”).

       In opposition, Plaintiff will likely argue that National Sand, Inc. v. Nagel

 Construction, Inc., 451 N.W.2d 618, 625 (Mich. Ct. App. 1990), DiPonio Const.

 Co., Inc. v. Rosati Masonry Co., Inc., 631 N.W.2d 59 (Mich. Ct. App. 2001) and

 Palmer Park Square, LLC v. Scottsdale Ins. Co., 878 F.3d 530, 539-40 (6th Cir.

 2017) support the application of Section 5813 to Plaintiff’s PPPA claim simply

 because the PPPA is a statute. Not so. The courts in those cases—none of which

 involved the PPPA—recognized that Section 5805 applies to actions alleging


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 personal injuries.12 They only applied Section 5813 because, unlike here, the

 plaintiffs had not claimed to have suffered personal injury as a result of the statutory

 violations at issue.13

        The unpublished decision in Pratt v. KSE Sportsman Media, Inc., 1:21-CV-

 11404, 2022 WL 469075 (E.D. Mich. Feb. 15, 2022) should not change the analysis,

 either.14 There, another court in this district recently held that the PPPA is subject

 to a six-year limitations period under Section 5813. The Pratt court misread dicta

 in Palmer Park Square to mean that the six-year statute of limitations always applies

 to every statutory causes of action unless the relevant statute contains its own,

 specific statutory limitations period. Id. at 5.




  12
      Palmer Park Square, 878 F.3d at 540 (distinguishing Section 5813 from Section
 5805, because the latter “provides specific limitations periods for actions redressing
 injuries to persons or property”); National Sand, 451 N.W.2d at 621-22; DiPonio,
 631 N.W.2d at 65.
   13
      See, e.g., DiPonio, 631 N.W.2d at 61-63 (involving violation of Michigan
 Builders’ Trust Fund Act, MCL § 570.151, which required contractors to hold
 payments they received on construction projects in a trust fund and to use those funds
 to pay subcontractors and suppliers first, before using the funds for any other
 purpose.); Palmer Park Square, 878 F.3d at 539-40 (involving claim by a business
 against an insurer seeking the penalty interest provided by MCL § 500.2006(4),
 which provides “[i]f benefits are not paid [by an insurer] on a timely basis, the
 benefits paid bear simple interest from a date 60 days after satisfactory proof of loss
 was received by the insurer at the rate of 12% per annum…”)
   14
      Around the same time Plaintiff filed the present suit, her counsel filed dozens of
 other suits under the 1989 version of the PPPA. Pratt is one of those cases. Motions
 to dismiss are currently pending in nine other cases, based on similar arguments
 presented here.
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       Pratt’s broad reading of Palmer Park Square could not possibly be correct,

 given the numerous examples above in which Michigan Supreme Court, the Sixth

 Circuit (post-Palmer Park Square), and others have applied Section 5805 to

 statutory claims alleging personal injury. See, e.g., Garg, 696 N.W.2d at 659;

 Stewart’s Est., 187 N.W.2d at 224; Dabish, 818 F. App’x at 427; see also In re

 Darvocet, Darvon, & Propoxyphene Prod. Liab. Litig., 756 F.3d 917, 937 (6th Cir.

 2014) (“On questions of state law, this Court is bound by the rulings of the state

 supreme court.”). Moreover, given that Palmer Park did not involve the PPPA or

 any other personal injury claims, the Pratt court erred in holding that it was

 “controlling precedent.” Cf. Pratt, 2022 WL 469075, at *5; see also U.S. v. Farah,

 766 F.3d 599, 610 (6th Cir. 2014) (refusing to apply “the most analogous binding

 precedent” identified by the dissent, where that case was “distinguishable on the

 facts and therefore provides no guidance”).

 II.   Plaintiff Lacks Article III Standing Because She Does Not Allege A
       Personal Injury Closely Analogous to a Common Law Tort

       A.     Legal Standard Applicable to Motions Under Rule 12(b)(1)

       Plaintiff, as the party invoking federal jurisdiction, bears the burden of

 demonstrating Article III standing. Spokeo, 578 U.S. at 339; see also Lewis v. Casey,

 518 U.S. 343, 357 (1996) (“named plaintiffs who represent a class must allege and

 show that they personally have been injured” to confer standing) (internal quotations

 omitted).   To establish standing, Plaintiff must show, at a minimum, that she

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 “suffered an injury in fact that is concrete, particularized, and actual or imminent.”

 TransUnion, 141 S. Ct. at 2203.

       A plaintiff who is “not seeking to remedy any harm to herself but instead is

 merely seeking to ensure a defendant’s ‘compliance with regulatory law’” fails to

 satisfy Article III. TransUnion, 141 S. Ct. at 2206; id. at 2204 (“alleging a bare

 procedural violation” is insufficient on its own). Rather, “[o]nly those plaintiffs who

 have been concretely harmed by a defendant’s statutory violation may sue that

 private defendant over that violation in federal court.” Id. at 2205. Moreover,

 legislative bodies cannot circumvent Article III standing requirements by

 “enact[ing] an injury into existence, using its lawmaking power to transform

 something that is not remotely harmful into something that is.” Id.

       B.      Plaintiff Lacks Standing Because She Does Not Allege a Concrete
              Injury With a “Common Law Analogue”

       In TransUnion, the Supreme Court made clear that, to determine whether the

 plaintiff has alleged a concrete harm, the court must “assess whether the alleged

 injury to the plaintiff has a ‘close relationship’ to a harm ‘traditionally’ recognized

 as providing a basis for a lawsuit in American courts.” 141 S. Ct. at 2204 (emphasis

 added, citing Spokeo, 578 U.S. at 341). Crucial to the determination here, “[t]hat

 inquiry asks whether plaintiffs have identified a close historical or common-law

 analogue for their asserted injury.” Id. (emphasis added).



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       The TransUnion plaintiffs alleged that TransUnion violated the Fair Credit

 Reporting Act (“FCRA”) by failing to follow reasonable procedures to make sure

 their credit files were accurate, and as a result, incorrectly flagging the plaintiffs as

 potential terrorists. The Court divided the class into two subgroups: those whose

 false credit information was disclosed to third parties, and those whose false credit

 information was not disclosed to third parties. The Court ruled that the plaintiffs

 who had false credit information disclosed to third parties had suffered “concrete

 injury in fact,” because their claim was sufficiently analogous to a traditional claim

 for defamation. TransUnion, 141 S. Ct. at 2208-09.

       However, the Court held that those plaintiffs whose false information had not

 (yet) been disclosed to a third party had not suffered any “concrete injury,” even

 though their credit files contained false information as a result of TransUnion’s

 statutory violation. Id. at 2212. This is because, for these plaintiffs, the element of

 publication necessary for the common law tort of defamation had not been satisfied.

 Id. at 2209-10.

       Although Plaintiff says that her information was shared with third parties

 (albeit, in a conclusory fashion without supporting factual allegations), under

 TransUnion, her conclusory statement, in itself, is insufficient to establish standing.

 Rather, Plaintiff must allege a common-law analogue for her claim. Plaintiff has

 carefully avoided making such allegations here. While Plaintiff claims repeatedly


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 that Annie’s violated her “statutorily protected right to privacy (as afforded by the

 PPPA)” (FAC ¶ 52, 72, 73; see also id ¶ 8 (“statutory privacy rights”)), she does not

 allege that Annie’s violated any of her rights outside the statute. She therefore has

 not alleged a concrete injury-in-fact under TransUnion.

       Pre-TransUnion PPPA cases do not say otherwise. Although several such

 cases found that plaintiffs had standing to bring PPPA claims, these holdings were

 based on allegations notably absent from Plaintiff’s FAC. For example, the courts

 specifically explained that the plaintiffs had standing because their privacy was

 invaded. See, e.g., Coulter-Owens, 695 F. App’x at 121 (holding that a PPPA

 violation is not a “‘bare procedural violation;’ it is a violation of the PPPA’s most

 basic substantive protection, the privacy in one’s reading materials.”); Boelter, 192

 F. Supp. 3d at 438 (“By its conduct, Defendant deprived Plaintiffs of their right to

 keep their information private”); Moeller, 235 F. Supp. 3d at 873 (“plaintiffs allege

 that defendants violated their privacy rights by disclosing personal-reading

 information”). Thus, although these cases did not apply TransUnion’s common-

 law analogue requirement (which, again, came after these decisions were issued),

 they still found a common-law analogue for the plaintiffs’ claims.

       TransUnion makes clear that Plaintiff cannot establish Article III standing

 unless she alleges a personal injury with a “a close historical or common-law

 analogue.” 141 S. Ct. at 2204 (emphasis added). This requirement is irreconcilable


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 with Plaintiff’s claim not to be subject to Section 5808.15 To the extent Plaintiff

 claims to have not suffered a personal injury with a common law analogue, or the

 Court makes such a finding, then her case must be dismissed for lack of Article III

 standing.

                                   CONCLUSION

       For the reasons discussed herein, it is impossible for Plaintiff to establish

 standing but avoid the three-year limitations period.       Plaintiff’s case must be

 dismissed as either untimely or for lack of standing.



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     While the analysis for standing and the statute of limitations claim hinge on the
 same issue—namely, whether Plaintiff has alleged a claim with a common law
 analogue—Annie’s is not arguing that a statute of limitations would, in itself, operate
 to deprive Plaintiff of standing. Cf. Pratt, 2022 WL 469075, at *8.

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